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                   Exhibit 19H
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       Excerpts from Declarations Submitted by BP’s Experts in Support of Final
                                     Approval

James Henley    Doc.        Certified Public Accountant and Attorney Licensed in good
                7114-11     standing in MS, Certified in Financial Forensics
Page            Paragraph   Point
4               6           The methodologies used in the Compensation Framework for
                            Business Economic Loss (BEL) …are consistent with well-
                            established methodologies for determining economic loss. They
                            are transparent and objective, relying on mathematical formulas
                            applied to data provided by claimants.
5               7           The documentation requirements are logically related to the
                            information required to evaluate the claims, require submission
                            of documentation and information that should be readily
                            available to claimants, and, in addition, are flexible in permitting
                            documentation alternatives.
5               8           The transparency and objectivity of the frameworks, which rely
                            on expressly stated requirements or mathematical formulas
                            assures that claimants can understand how their claims can be
                            treated under the frameworks.
18              23          The required documents are those claimants would either keep
                            in the ordinary course of business or may readily prepare from
                            records that would be kept in the ordinary course of business.
18              24          The Causation requirements for the BEL Framework appear more
                            than reasonable. …there is a presumption of causation, which
                            will inevitably include businesses that were not economically or
                            financially affected by the DWH Spill.
19              25          Moreover, the causation tests reflect reasonable expectations
                            about the economic harm the DWH Spill could have caused to a
                            business, and therefore are appropriate tests for the purpose of
                            establishing causation.
21              30(a)       Claimants may select one of three Benchmark Period years
                            (2009, average of 2008/2009, average 2007/2009). This allows a
                            claimant to select the most favorable period for comparison.

                30(a)       In my experience, if claimants were to litigate, the period used
                            for the benchmark period would be fiercely disputed and the
                            claimants would be unlikely to end up with the most beneficial
                            period. In fact, it would be unreasonable to allow the claimant to
                            “cherry pick” the period in litigation.

                30(a)       Under the BEL Framework, the settlement gives claimants
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                           whatever Benchmark Period is best for their individual
                           circumstances among the three options.
22             30(b)       In addition to having a choice as to Benchmark Period years,
                           claimants also get to choose their Compensation Period for three
                           or more consecutive months. “The three month minimum
                           period is a reasonable requirement because it eliminates the risk
                           that normal month-to-month variations in business performance
                           are not mistaken for a trend of declining performance due to the
                           DWH Spill.”
22             30(c)       Permitting claimants the flexibility to choose a different three or
                           more month period for compensation and causation maximizes
                           their ability to establish causation and the amount of
                           compensation received.

24-25          31          “The BEL compensation methodology is reasonably designed to
                           make claimants whole for their losses. In addition to
                           compensation for lost profits during the Compensation Period, as
                           explained above, including a growth factor, claimants also
                           receive an RTP multiplier that compensates them for, among
                           other things, any potential risk of future losses (which may or
                           may not occur).”
Geoffrey       Doc.        Expert on Class Actions
Miller         7114-16
Page           Paragraph Point
7              17        Because PSC attorneys served clients from throughout the
                         region, moreover, all relevant geographic areas were
                         represented in the settlement bargaining
9              20        These entities and persons were excluded for a number of
                         reasons, including that they were not, in general, adversely
                         impacted by the Incident, that their claims were deemed to be
                         marginal, excessively complex, or remote to the main
                         controversy, or that they had executed certain releases in
                         connection with the Incident.
14             40        The parties, moreover, had access to more than 100,000 claims
                         filed pursuant to Transocean’s limitation action, which provided
                         general information about the types of claimants and injuries
                         implicated here.
James          Doc.      Professor of Economics, Louisiana State University
Richardson     7114-17
Page           Paragraph Point
10             32        The most compelling point regarding the fairness of the
                         Economic Damage Claim Frameworks listed in Section 5.3 of the
                         Settlement Agreement is that there are no limits on the total
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                         amount to be paid for individual or business economic losses. At
                         the time of the settlement announcement, BP estimated the
                         overall cost of the settlement to BP, including the Seafood
                         Compensation Program, would be $7.8 billion but this is only an
                         estimate and not a limit.
11             36        Given the number of class members and potential claimants and
                         the variety of business types, streamlined administration that, for
                         purposes of a negotiated settlement claims process, presumes
                         causation for certain industry sectors more likely to be impacted
                         by a spill in certain geographic areas is both fair and reasonable.
14             40        …Moreover, given the fact that the first four months of 2010
                         were sluggish, the use of presumed General Growth and Industry
                         Growth Factors for businesses and certain individuals is quite
                         favorable to the claimants under the Settlement Agreement as
                         the inclusion of such growth factors limits negative growth.
16             45        …Furthermore, the Frameworks provide for a standardized
                         approach for evaluating claims of similarly situated businesses
                         under the Settlement Agreement while also including
                         alternatives that permit the consideration of claimants’ specific
                         circumstances.
17             47        Common information is an essential starting point in determining
                         a fair and equitable way of rewarding payments under a
                         settlement.

               47        It also allows for the process to provide equal treatment for
                         different businesses since businesses are requested to submit a
                         common core of similar data, with certain additional
                         requirements tailored to particular types of businesses.
18             48        …the documents required…are the types of documents that
                         businesses must keep in the ordinary course of business or are
                         readily prepared and produced from a business’s books and
                         records…
19             50        …However, it is burdensome to attempt to parse the final cause
                         of a business’ failure to recover profits when there are multiple
                         potential factors, and so in the context of this settlement, a
                         presumption that the Oil Spill had at least a partial cause in this
                         sustained downturn is fair and reasonable, even though the
                         failure may have occurred irrespective of the Oil Spill. It also
                         makes the process administratively feasible.
20             51        The Business Economic Loss Frameworks compare the actual
                         profit of the business during a defined post-spill period of their
                         choice in 2010 to the profit the claimant might have expected to
                         earn in the same post-spill period. The claimant is compensated
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                           for any reduction in profit between the 2010 compensation
                           period and a comparable benchmark period.
21             53          The Business Economic Loss Claims Framework allow the
                           claimants to choose the Compensation Period of three or more
                           consecutive months between May and December of 2010.

               53          This allows claimants to tailor the periods to the unique
                           conditions of the business within reasonable constraints and
                           allows beneficial flexibility. This favors the claimant because the
                           flexibility accounts for variation in income and profit year over
                           year and enables the claimant to select the best possible starting
                           point for the loss calculation within a reasonable constraint.
22             54          …The major difference in this particular framework is that the
                           claimants can use their choice of the number of months between
                           May 2010 and December 2010 in establishing the compensation.
                           This will certainly mean that the claimant will select the most
                           favorable to them or, if the claimant fails to do so, the
                           Settlement Program will select the most favorable outcome for
                           the business.

22             54          This is an unusual feature that favors the claimants.
Holly Sharp    Doc.        Certified Public Accountant (CPA), Certified Fraud Examiner
               7114-18     (CFE), and Certified Financial Forensics (CFF)
Page           Paragraph   Point
3              6           I have been asked to render opinions with respect to the
                           economic reasonableness and methodologies of business and
                           individual economic loss under the Settlement Agreement
5              9           …The compensation calculation in the Settlement Agreement for
                           business economic loss claims is divided into two steps: Step 1
                           provides compensation for the reduction and variable profit
                           between the Compensation Period and the Benchmark Period.
                           Step 2 provides compensation for increased profits expected to
                           be generated in 2010 “but for” the spill. The two-step calculation
                           in the Settlement Agreement applies the generally accepted
                           “before and after” method to compensate business claimants for
                           post-spill lost profit.
5              10          …Revenues less variable expenses are calculated for both the
                           Benchmark Period and the Compensation Period, and the
                           difference is measured (Step 1).
8              14          The Settlement Agreement contains causation requirements
                           designed to demonstrate that the claimants business was
                           impacted by the spill.
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8              15        …The options to demonstrate causation start with
                         straightforward, reasonable tests of business revenue patterns
                         that show a downturn after the spill and a later upturn…
9-10           17        Even though the causation tests assume the observed impact on
                         the business is a function of the spill (rather than undertaking a
                         specific analysis to confirm), once a business meets the causation
                         requirements, for purposes of quantifying compensation, all
                         revenue and variable profit declines during the claimant-selected
                         compensation period are presumed to be caused by the spill,
                         with no analysis required to determine whether the declines
                         might have been due, at least in part, to other causes. In a typical
                         lost profit case, a detailed analysis of the reasons for the revenue
                         and/or variable profit declines is undertaken because it is part of
                         the plaintiff’s burden of proof. For this reason, causation is a
                         significant consideration by the expert in lost profit cases
                         because although a plaintiff may have losses relative to
                         expectations, if the losses cannot be shown to be caused (or
                         totally caused) by the actions of the defendant(s), the damages
                         are usually not recoverable or not entirely recoverable.
                         “Recovery of damages for lost profits is subject to the general
                         principle that damages must be proximately caused by the
                         wrongful conduct of the defendant.” Assignment of liability for
                         losses in litigation disputes with multiple causation factors can be
                         a very difficult and hotly contested determination. The
                         Settlement Agreement significantly reduces the need for this
                         complicated determination because once causation
                         requirements are met by a business claimant, all the economic
                         losses are presumed to be as a result of the spill. The business
                         claimant benefits from the causation provisions in the Settlement
                         Agreement by having causation presumed for many,
                         straightforward mathematic tests of causation for others, and no
                         requirement to attribute lost profits to anything other than the
                         spill. The causation provisions in the Settlement Agreement are
                         more favorable to the business claimant than those for a
                         similarly situated plaintiff in a typical litigation dispute.
10             18        …The Compensation Period is three or more months from May
                         through December 2010, selected by the business claimant, and
                         these same months are used for the Benchmark Period. The
                         business claimant has the choice of using these months in 2009,
                         the average of 2008 and 2009, or the average of 2007 through
                         2009 as the Benchmark Period.
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11             20        The Settlement Agreement provides options to the business
                         claimant in the selection of its Benchmark Period that are more
                         flexible and generous than what would usually be available in
                         litigation. In litigation, the parties (and their experts) can contest
                         what periods prior to the loss event (and up to three years prior
                         to the loss event is a typical time period to analyze) are most
                         representative of operations immediately prior to the loss event
                         and best to predict operations during the Compensation Period.
                         In contrast, the Settlement Agreement allows the business
                         claimant to select the Benchmark Period from the standardized
                         options that is most beneficial to the claimant in terms of
                         establishing causation (if the claimant is not one for which
                         causation is presumed) and loss.
Henry          Doc.      PhD; Economist; with over 30 years experience in economics
Fishkind       7114-5    and economic forecasting
Page           Paragraph Point
9-10           31        The compensation calculation formulas in the Economic Damage
                         Claim Frameworks are consistent with well-established
                         methodology for quantifying economic loss. In general, they rely
                         on historical benchmark data supplied by the Claimant,
                         supplemented by a growth factor, to determine what the
                         Claimant’s predicted earnings would have been. Those projected
                         earnings during a Claimant-selected post-DWH spill
                         compensation period are compared to actual earnings during
                         that period and the difference is deemed a compensable loss.
31             87        The numerical thresholds for the tests are also economically
                         reasonable. Furthermore, the requirement that the Benchmark
                         and Compensation periods used to measure decline and recovery
                         be measured over at least 3 months is a reasonable means of
                         ensuring that the data reflect a genuine trend in economic
                         performance and not just routine month-to-month variation that
                         any business can expect even absent any unusual event. The
                         specific thresholds in the causation requirements appear
                         reasonable because they are generally consistent with the
                         decline and recovery data for the Tourism and Seafood industries
                         discussed in above.
